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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     ASHLAND DIVISION
                               CIVIL ACTION NO. 16-cv-114 HRW

                                        (Electronically Filed)

UNITED STATES OF AMERICA,                                                                PLAINTIFF,

VS.

JOHN R. KOUNS, et al.,                                                                  DEFENDANTS.

ANSWER OF DEFENDANT, BLUEGRASS COMMUNITY FEDERAL CREDIT UNION

        Comes now the Defendant, Bluegrass Community Federal Credit Union (“BGFCU”), by

counsel, and for its Answer to the Complaint states as follows:

                                         FIRST DEFENSE

        The Complaint fails to state a claim for which relief can be granted against this answering

Defendant, and should be dismissed and held for naught.

                                        SECOND DEFENSE

        1.      BGFCU admits the allegations contained in numerical paragraph 11 of the

Complaint that it has a recorded judgment lien; said judgment lien has not otherwise been paid or

released, and secures a debt with an outstanding balance.

        2.      BGFCU is otherwise without knowledge sufficient to form a belief as to the truth

of the allegations of the Complaint, and therefore denies same, but BGFCU does not wish to

dispute any allegations that may be verified by public record.

        WHEREFORE, having fully answered and responded to the allegations of the Complaint,

BGFCU respectfully prays for an Order recognizing its lien, ordering the marshaling of all liens

in their order of priority, and for all other relief to which it may appear entitled.
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                                      Respectfully submitted,


                                      /s/ Philip Q. Ratliff____________________
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                                      Certificate of Service

        I certify that the foregoing has been served upon the parties herein by ECF or by mailing
a true and correct copy thereof, postage prepaid, to:


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Division of Collections
c/o Andy Beshear, Attorney general
700 Capital Avenue, Suite 118
Frankfort, KY 40601-3449




This the 7th day of November, 2016.


/s/ Philip Q. Ratliff_________________
Philip Q. Ratliff
